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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

NIKOLAY RASTORGUEV,                               )
                                                  )
       Plaintiff,                                 )
                                                  )
V.                                                )       CIVIL ACTION NO. SA-18-CA-966-FB
                                                  )
DAVID SEPIACHVILI, ET AL.,                        )
                                                  )
       Defendants.                                )

           ORDER GRANTING PLAINTIFF’S MOTION FOR CONFIRMATION
               OF ADR AWARD AND ENTRY OF FINAL JUDGMENT

       Before the Court is Plaintiff’s Motion for Confirmation of ADR Award and Entry of Final

Judgment. (Docket no. 77). No response in opposition to the motion was filed. This matter comes

before this Court pursuant to Plaintiff’s Motion for Confirmation of ADR Award and Entry of Final

Judgment requesting:

       (1) confirmation of the award issued by Arbitrator Harper Estes, Esq. dated August 26,
       2021 (“Award”) and the entry of final judgment on all claims related to the Austin Chalk
       Development Project (“Austin Chalk”), jointly and severally, against Defendants David
       Sepiachvilli, David A. Sepiashvili, Aterra Exploration, LLC, Southtex Energy Corp.,
       Level One Advisors, Inc. and Tight Rock Company, LLC in the amount of $993,275
       plus post-judgment interest of 5% per annum from September 25, 2021 until paid in full
       (docket no. 74-1); and

       (2) final judgment on all claims related to the Special Purpose Loan Agreement
       (“SPLA”), jointly and severally, against Defendants David Sepiachvilli, David A.
       Sepiashvili, Aterra Exploration, LLC, Southtex Energy Corp. and Tight Rock Company,
       LLC in the amount of $1,782,906 plus post-judgment interest of 4% per annum from
       June 1, 2020 until paid in full. (Docket no. 49-1).

Having considered the motion, and the entire record herein, the Court finds that the motion has merit

and should be granted.
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IT IS THEREFORE ORDERED that:

(1) that the Award is confirmed, and final judgment shall be entered on all claims related
to the Austin Chalk, jointly and severally, against Defendants David Sepiachvilli, David
A. Sepiashvili, Aterra Exploration, LLC, Southtex Energy Corp., Level One Advisors,
Inc. and Tight Rock Company, LLC in the amount of $993,275 plus post-judgment
interest of 5% per annum from September 25, 2021 until paid in full; and

(2) final judgment is entered on all claims related to the Special Purpose Loan
Agreement (“SPLA”), jointly and severally, against Defendants David Sepiachvilli,
David A. Sepiashvili, Aterra Exploration, LLC, Southtex Energy Corp. and Tight Rock
Company, LLC in the amount of $1,782,906 plus post-judgment interest of 4% per
annum from June 1, 2020 until paid in full.

It is so ORDERED.

SIGNED this 27th day of December, 2021.


                                 _________________________________________________
                                 FRED BIERY
                                 UNITED STATES DISTRICT JUDGE




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